














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


									




NO. PD-1761-07





LEONEL MARTINEZ RAMIREZ, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FOURTEENTH COURT OF APPEALS

HARRIS COUNTY





	Per curiam.  keasler and hervey, jj., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because it contains an incomplete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered:  April 23, 2008

Do Not Publish.


